                                                       Entered on Docket
                                                       October 05, 2023
                                                       EDWARD J. EMMONS, CLERK
                                                       U.S. BANKRUPTCY COURT
                                                       NORTHERN DISTRICT OF CALIFORNIA


1    Miles Woodlief (SBN124467)
     ArcherTM
2    775 East Blithedale Avenue                 The following constitutes the order of the Court.
                                                Signed: October 4, 2023
     Suite 514
3
     Mill Valley, California
4    phone: (415) 730-3032
     facsimile:(415) 366-2956
5    Attorney for Debtor and Debtor-in-Possession ________________________________________
                                                         Charles Novack
                                                         U.S. Bankruptcy Judge
6
                                UNITED STATES BANKRUPTCY COURT
7                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                         (Oakland Division)
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9                                                     )
     In Re:                                           ) Chapter 11
10                                                    )
     Nutrition 53, Inc.                               ) Case No.: 4:23-bk-40997
11                                                    )
     Employer's Tax Identification (EIN) No. :        )
12   XX-XXXXXXX                                       )
                                                      )
13            Debtor
                                                      )
14
         ORDER AUTHORIZING EXECUTION OF, AND PERFORMANCE UNDER,
                  LICENSING AND DISTRIBUTION AGREEMENT
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               On September 5, 2023, Debtor and Debtor in possession Nutrition 53, Inc. ("Debtor")
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     filed an Application for Order Authorizing Execution of, and Performance Under, Licensing and
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     Distribution Agreement (“Application”) that requests, among other things, Pro Performance
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     Distribution, Inc. (“PPDI”) be granted a limited license to purchase specific Products licensed
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     by the Debtor for sale exclusively through Amazon.com as set forth in the Distribution
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     Agreement (“Agreement”), a complete copy of which was previously filed in this case on
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     August 16, 2023, as Exhibit A to the Declaration of Kristine Manlapaz, Docket No. 18-7,.
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               The Court has reviewed the Declaration of Miles Archer Woodlief in which he
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     represents that (i) he served the Application on the twenty largest creditors and (ii) no creditor
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1    filed or served an objection or opposition to the Application, or otherwise asserted an objection
2    or opposition, within the allotted twenty-one day;
3           Based on the Agreement, the Application, and the Declaration of Miles Archer
4    Woodlief, the Court, after due deliberation, finds that Notice of the Application for an Order
5    Authorizing Execution of, and Performance Under, Licensing and Distribution Agreement was
6    proper, was properly served on the requisite creditors, and no objections were filed or raised by
7    any creditor.
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             Further, the Court, after due deliberation, finds that there is sufficient cause to grant the
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     relief requested. Therefore, it is ORDERED that:
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             1.      The Court approves the Debtor’s Application to entered into and perform under
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     the Agreement;
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             2.      The Court deems the Notice of Debtor’s Application to be adequate;
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             3.      The Court finds that there were no objections filed with the Court and based on
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     the Declaration of Debtor’s Counsel, no objection to this compromise was served on Debtor;
15           4.      Debtor and PPDI may immediately commence operation under the Agreement.
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     IT IS SO ORDERED
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                                                                    END OF ORDER
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1                                         Court Service List
2                 As there were no objections or oppositions, the Court’s service of the Order is not
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     necessary.
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